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                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW MEXICO


TRAVIS GLASS,
               Plaintiff,
       v.                                                  No. 1:21-cv-00543 JCH/JHR


XTO ENERGY INC., and
TOMMIE CRIDDLE, individually
and as agent of XTO ENERGY INC.

               Defendants.


                    UNOPPPOSED MOTION TO AMEND COMPLAINT

       Plaintiff, through counsel of record submits this Motion to Amend Complaint. As

grounds for this Motion, the Plaintiff states the following.

        1.     Plaintiff hereby requests leave to file First Amended Complaint, as attached, in

        the above action to correct Defendant XTO Energy’s name to XTO Energy Inc.

        Defendants do not oppose this motion.



       WHEREFORE, Plaintiff respectfully requests that this Motion be granted.

                                                      Respectfully submitted,

                                                      VALDEZ AND WHITE LAW FIRM, LLC

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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 28th day of September 2021, I filed the foregoing
using CM/ECF which caused the following parties or counsel to be served by electronic means,
as more fully reflected on the Notice of Electronic Filing:



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